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UNITED STATES DISTRICT COURT Us DISTRICT COURT

WESTERN DISTRICT OF NC

WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

NAJIBULLAH MAYAR
and

MOUHSINA MAYAR, 3:25-CV-499-Gom

Plaintiffs,

UNITED STATES DEPARTMENT OF STATE,
Defendant.

Case No.: [ ]

VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

INTRODUCTION

1. Plaintiffs bring this action to prevent irreparable harm resulting from the enforcement of
Presidential Proclamation 10949, which bars entry to individuals based on nationality.

2. Plaintiffs' immediate family members—Tamana Mayar, Heela Mayar, and Abdullah
Mayar—are in the final stage of F22 immigrant visa processing, with interviews scheduled
for August 12, 2025, at the U.S. Embassy in Kigali, Rwanda.

3. Denial of their visas based solely on nationality under the Proclamation will cause
unlawful and irreparable separation of the family.

4. Plaintiffs seek emergency and permanent relief from this Court.

JURISDICTION AND VENUE

5. This Court has jurisdiction under 28 U.S.C. § 1331 (federal question), § 1361
(mandamus), and the Administrative Procedure Act (5 U.S.C. § 701 et seq.).

6. Venue is proper under 28 U.S.C. § 1391(e) because Plaintiffs reside in this district.

PARTIES

7. Plaintiff Najibullah Mayar is a U.S. citizen residing in Charlotte, NC. He is the eldest son of
Plaintiff Mouhsina Mayar and the older brother of the three visa applicants. He is the sole
provider for the entire family.

8. Plaintiff Mouhsina Mayar is a lawful permanent resident of the United States and mother

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of the visa applicants.

9. Defendant United States Department of State is the federal agency responsible for
implementation of immigration laws and presidential proclamations affecting visa
processing.

FACTUAL BACKGROUND

10. Plaintiffs fled Afghanistan due to Taliban persecution. Mouhsina and her husband
obtained U.S. permanent residency in 2022.

11. Their children—Tamana, Heela, and Abdullah—filed immigrant visa applications in the
F22 category.

12. Due to the closure of the U.S. Embassy in Kabul, their case was transferred to the U.S.
Embassy in Kigali, Rwanda.

13. They are scheduled for interviews on August 12, 2025.

14. Plaintiffs submitted a waiver request under Section 3(c) of Proclamation 10949.

15. Without judicial intervention, their visas will be denied solely due to Afghan nationality,
in violation of federal law and constitutional protections.

CLAIMS FOR RELIEF

Count I - Violation of Administrative Procedure Act (Arbitrary and Capricious)
Count II - Violation of Equal Protection (Fifth Amendment)

Count III - Violation of Procedural Due Process

Count IV - Declaratory Relief

Count V - Injunctive Relief

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that the Court:

A. Declare the application of Presidential Proclamation 10949 to Plaintiffs’ family unlawful;
B. Issue a Temporary Restraining Order and Preliminary Injunction barring denial of the
F22 immigrant visas;

C. Compel the Department of State to process and issue the visas;

D. Grant such other relief as the Court deems just and proper.

Dated: [07 -lo-2¢ ]

/s/ Najibullah Mayar

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